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UN|TED STATES OF AMERECA

 

P|aintiff

VS.
CR. NO. 04-20281-0

DANN¥ W|NBERRY

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
re ort date of Thursda October 27 2005 at 9:00 a.m., in Courtroom 3. 9th F|oor of

 

the Federa| Bui|ding, Memphis, TN.

The period from Ju|y15, 2005 through November18, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this é day of Ju|y, 2005.

QZ_%¢/

lCE B. DONALD
u TED sTATEs DlsTRlc'r JuDeE

  

T`nis cloo\_!rnent entered on the docket sheet in compliance

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This notice confirms a copy of the document docketed as number 64 in
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Honorable Berniee Donald
US DISTRICT COURT

